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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

Sandy Jean Petty,                        )
                                         )
       Plaintiff,                        ) Civil Action File No.:
                                         )
v.                                       )
                                         )
Equifax Information Services, LLC,       )              COMPLAINT
                                         )    WITH JURY TRIAL DEMAND
       Defendant,                        )
                                         )

                         PRELIMINARY STATEMENT

      1.      The United States Congress has found the banking system is dependent

upon fair and accurate credit reporting. Inaccurate credit reports directly impair the

efficiency of the banking system, and unfair credit reporting methods undermine the

public confidence, which is essential to the continued functioning of the banking

system. Congress enacted the Fair Credit Reporting Act, 15 U.S. Code § 1681, et

seq. (the “FCRA”) to ensure fair and accurate reporting, promote efficiency in the

banking system, and protect consumer privacy.

      2.      Under the FCRA, consumer reporting agencies are charged with two

primary duties: the duty to follow reasonable procedures to assure maximum

possible accuracy of information when preparing consumer reports; and the duty to

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reasonably reinvestigate consumers’ disputes of inaccurate information, and then

appropriately correct or modify the disputed information. A consumer reporting

agency’s duty to reasonably reinvestigate consumers’ disputes of inaccurate

information explicitly includes the duty to notify the furnisher of the disputed

information. This is because the furnisher of the disputed information stands in a

better position to make a thorough investigation of the disputed information than the

credit reporting agency.

      3.       Defendant compiles, maintains, and reports information concerning

Plaintiff’s credit-worthiness, credit-standing, credit capacity, character, and general

reputation. That information is then made available for use by third-parties in credit

transactions involving Plaintiff, for employment purposes, the underwriting of

insurance for Plaintiff, and even in connection with a determination of Plaintiff’s

eligibility for a license or other governmental benefit. Accordingly, and pursuant to

various provisions of the FCRA, Plaintiff has a legally protected interest in

Defendant fulfilling its duties under the FCRA, so that the information reported and

maintained by Defendant is done so in a manner which is fair and equitable to

Plaintiff, with regards to the confidentiality, accuracy, and relevancy of that

information.


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      4.      This action for damages is based on Defendant’s false reporting on

Plaintiff’s credit file and/or consumer reports, failures to follow reasonable

procedures to assure maximum possible accuracy of the information concerning

Plaintiff, and failures to conduct reasonable investigations and reinvestigations with

respect to disputes of such information.

                                      PARTIES

      5.      Plaintiff, Sandy Jean Petty is a natural person who resides in Barrow

County, Georgia.

      6.      Plaintiff is an individual and is, therefore, a “consumer” as that term is

defined by 15 U.S.C. § 1681a(c).

      7.      Defendant, Equifax Information Services, LLC (hereinafter “Equifax”)

is a limited liability company formed under the laws of the State of Georgia and

registered to do business in the State of Georgia. Equifax may be served with process

via its registered agent, Corporation Service Company, at 2 Sun Court, Suite 400,

Peachtree Corners, GA 30092.

      8.      Equifax regularly assembles and/or evaluates consumer credit

information for the purpose of furnishing consumer reports to third parties and uses




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interstate commerce to prepare and/or furnish the reports. Accordingly, Equifax is a

“consumer reporting agency” as that term is defined by 15 U.S.C. § 1681a(f).

                          JURISDICTION AND VENUE

      9.      This Court has federal question jurisdiction over Plaintiff’s Fair Credit

Reporting Act (“FCRA”), 15 U.S.C. § 1681, et seq., claims pursuant to 15 U.S.C. §

1681p and 28 U.S.C. § 1331.

      10.     This Court has personal jurisdiction over Defendant pursuant to

O.C.G.A. § 9-10-91(1) because, inter alia, Defendant frequently and routinely

conducts business in the State of Georgia, including the conduct complained of

herein.

      11.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      12.     Pursuant to LR 3.1B(3), venue is proper in the Atlanta Division because

the Defendant maintains a registered agent in Gwinnett County, which is in the

Atlanta Division.

                                ALLEGATIONS OF FACT

                                    Plaintiff’s Mortgage


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      13.   On or about November 21, 2017, Plaintiff obtained a residential home

loan from Nationstar Mortgage LLC d/b/a Mr. Cooper for the original principal

amount of $83, 768.00.

      14.   The Mortgage is collateralized by residential real property located at

532 Walton Drive, Bethlehem, GA 30620, as evidenced by the Security Deed

recorded at Deed Book 2087, Page 649, in the Superior Court of Barrow County.

      15.   On or about March 24, 2020, the Mortgage was transferred from

Nationstar Mortgage LLC d/b/a Mr Cooper to Midland Mortgage, as evidenced by

the Assignment recorded at Deed Book 2321, Page 628, in the Superior Court of

Barrow County.

                           Plaintiff’s Bankruptcy Case

      16.   On April 6, 2021 Plaintiff filed a Chapter 13 Voluntary Bankruptcy

Petition in the United States Bankruptcy Court for the Northern District of Georgia,

Gainesville Division, Case Number 21-20447 (the “Bankruptcy Case”).

      17.   In Schedule D of her Bankruptcy Petition, Plaintiff listed Midland

Mortgage as a secured creditor with a claim for the Mortgage in the amount of

$84,160 (the “Debt”).




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      18.     On September 15, 2021, Plaintiff filed her Chapter 13 Plan in

accordance with 11 U.S.C. § 1322, providing for the cure of any then-existing

deficiency and the direct payment of all future Mortgage payments by Plaintiff to

Midland Mortgage.

      19.     As the Mortgage is secured only by a security interest in real property

that is Plaintiff’s principal residence, Plaintiff’s Chapter 13 Plan cannot and will not

discharge the Mortgage, and thus left Midland Mortgage’s rights otherwise

unaffected.

      20.     On May 25, 2021, Midland Mortgage filed a Proof of Claim in

Plaintiff’s Bankruptcy Case, claim number 9, representing it was owed $14,102.18.

      21.     Midland Mortgage did not object to Plaintiff’s Plan.

      22.     On September 23, 2021, Plaintiff’s Plan was confirmed.

      23.     Midland Mortgage was served with a copy of the Order Confirming

Plan on September 25, 2021 by the Bankruptcy Noticing Center.

      24.     The Bankruptcy Case is currently pending and Plaintiff continues to

substantially perform under the terms of her Confirmed Plan.




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      25.   The Mortgage has not been discharged and is not subject to discharge

pursuant to 11 U.S.C. §§ 1322(b)(2) and 1328(a)(1). See, Dukes v. Suncoast Credit

Union (In re Dukes), 909 F.3d 1306 (11th Cir. 2018).

      26.   As recently as August 10, 2022, Midland Mortgage advised the

Bankruptcy Court and Plaintiff that Plaintiff’s Mortgage was being serviced by

Midland Mortgage and that Plaintiff’s obligation is ongoing.

      27.   Accordingly, Plaintiff has continued to make her Mortgage payments

to Midland Mortgage, and Midland Mortgage has continued to service Plaintiff’s

Mortgage and accept her Mortgage payments.

                  Effect of Consumer Reports Which Contain
                     Inaccurate or Misleading Information

      28.   Under the FCRA, the term “consumer report” generally refers to:

            any written, oral, or other communication of any information by
            a consumer reporting agency bearing on a consumer’s credit
            worthiness, credit standing, credit capacity, character, general
            reputation, personal characteristics, or mode of living which is
            used or expected to be used or collected in whole or in part for
            the purpose of serving as a factor in establishing the consumer’s
            eligibility for:

                   i.    credit or insurance to be used primarily for personal,
                         family, or household purposes;

                   ii.   employment purposes; or



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                    iii.    any other purpose authorized under section 1681b
                            of this title.

             15 U.S.C. § 1681a(d)(1).

      29.    The information contained in a consumer report bears on a consumer’s

credit worthiness, credit standing, credit capacity, character, general reputation, and

personal characteristics.

      30.    The information contained in a consumer report can have a tremendous

effect on the consumer; to name only a few, the report can impact the consumer’s:

             a.     Eligibility for and terms for credit;

             b.     Potential for refinancing of existing credit;

             c.     Eligibility for leasing prospects;

             d.     Eligibility for utility services;

             e.     Eligibility for and the terms of insurance;

             f.     Employment or potential employment;

             g.     Accounts which are under collection or review;

             h.     Eligibility for a license or other benefit granted by a

                    governmental       instrumentality,     particularly   where   the

                    instrumentality is required by law to consider an applicant’s

                    financial responsibility or status;

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             i.     Standing with potential investors or servicers; and

             j.     Eligibility for individually-billed travel charge cards used by

                    executive departments and agencies.

      31.    The terms “consumer report”, “credit report”, and “consumer credit

report” are used synonymously herein.

      32.    Approximately two million consumer reports are issued by credit

bureaus each day. See, Robert B. Avery, Paul S. Calem, and Glenn B. Canner,

Federal Reserve Board, Division of Research and Statistics, and Raphael W. Bostic,

University of Southern California, An Overview of Consumer Data and Credit

Reporting         (February      2003),       p.      48-49,       available      at

https://www.federalreserve.gov/pubs/bulletin/2003/0203lead.pdf,       archived    at

https://perma.cc/DCY4-ZS6C (last accessed on September 3, 2018).

      33.    In 2012, the Federal Trade Commission conducted a study regarding

consumer credit reporting errors and determined that anywhere from 10 to 21 percent

of consumers have confirmed errors on their consumer reports. Federal Trade

Commission, Report to Congress under Section 319 of the Fair and Accurate Credit

Transactions Act of 2003 (December 2012), p. iv of Executive Summary, available

at   https://www.ftc.gov/sites/default/files/documents/reports/section-319-fair-and-


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accurate-credit-transactions-act-2003-fifth-interim-federal-trade-

commission/130211factareport.pdf, archived at https://perma.cc/R3P4-FGV9 (last

accessed on September 3, 2018).

      34.    The FTC study found that not only do these errors adversely affect

consumers’ credit scores, but the estimated proportion of reports and consumers who

experience a positive credit score change resulting from the correction of these

errors is higher than previous estimates from the credit reporting industry. Id.

                                   Credit Scoring

      35.    The Fair Isaac Corporation credit risk scoring system, commonly

referred to as “FICO”, is the leading credit scoring system and utilizes data reported

by credit reporting agencies. See, https://www.myfico.com/credit-education/credit-

scores/ (last accessed on September 3, 2018).

      36.    The Fair Isaac Corporation uses the data in consumer reports to

calculate consumers’ credit scores (also known as credit risk scores). Id.

      37.    The term “credit score” is a numerical value or a categorization derived

from a statistical tool or modeling system used by a person who makes or arranges

a loan to predict the likelihood of certain credit behaviors, including default.

Consumer Financial Protection Bureau, Supervision and Examination Manual,


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Version        2      (October         2012),        p.     53,      available      at

http://files.consumerfinance.gov/f/201210_cfpb_supervision-and-examination-

manual-v2.pdf, archived at http://perma.cc/JF32-RFAA, (last accessed on

September 3, 2018).

      38.     FICO scores are calculated from five main categories of credit data in

a consumer’s credit report. Those categories, and their weighted values, are as

follows: payment history accounts for 35% of a consumer’s FICO score;

debt/amounts owed accounts for 30% of a consumer’s FICO score; age/length of

credit history accounts for 15% of a consumer’s FICO score; new credit/recent

inquiries accounts for 10% of a consumer’s FICO score; and mix of accounts/types

of   credit    accounts   for    10%    of      a   consumer’s    FICO   score.   See,

https://www.myfico.com/credit-education/whats-in-your-credit-score/, archived at

https://perma.cc/E8Y3-F4AA (last accessed September 3, 2018).

      39.     Payment history is the most important aspect of a consumer’s credit

score because it shows how the consumer has managed his finances, including any

late payments. Credit history is also very important, as it demonstrates how long the

consumer has been managing his accounts, when his last payments were made, and




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any recent charges. See, https://www.transunion.com/credit-score, archived at

https://perma.cc/NRZ4-W83U (last accessed September 3, 2018).

      40.    The cost of credit (e.g., interest rates, fees, etc.), the availability of

credit, ratings for insurance products, and even unsolicited credit offers, such as the

opportunity to refinance a mortgage at a lower interest rate, extended financing

periods and lower rate auto loans, and even zero-percent financing credit offers for

in-store credit lines, are all, by and large, driven by a consumer’s credit score.

      41.    Inaccurate or incorrect credit reporting very often results in a lower

FICO and other credit scoring model scores, and thus higher costs of credit,

diminished opportunity, and less purchasing power for consumers.

      42.    Incorrectly reporting the tradeline of Plaintiff’s Mortgage—which is

open, active, and has a balance that Plaintiff is making payments on—with incorrect,

outdated payment information and as having a $0 balance, adversely affects

Plaintiff’s FICO score, as it excludes any recent positive payment history associated

with the Mortgage, it alters the age/length of credit history, and it alters the mix of

accounts/types.

      43.    There is no established rule or threshold for classifying the significance

of a credit score change as minor or major because the impact of a change in score


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is dependent on the current score. That is, a twenty-five-point change in a credit

score that keeps the consumer in a particular credit risk category may not have a

large impact on the person’s likelihood of receiving credit. However, a one-point

change in credit score that moves the consumer from one risk tier to the next may

have a large impact on the consumer’s access to credit or the products and rates the

consumer is able to secure.

       44.     Consistent with FTC study, the Fair Isaac Corporation states that

inaccurate or incorrect information on a consumer’s credit report can hurt their score.

See,         https://www.myfico.com/credit-education/questions/fix-errors-on-credit-

report/, archived at https://perma.cc/9TQN-S5WP (last accessed September 3,

2018).

                           Credit-Based Insurance Scoring

       45.     Other entities that regularly review consumer reports, and use the data

contained therein, are insurance companies.

       46.     Insurance companies use a scoring mechanism which is similar to, but

distinct from, the “credit score” used by creditors.

       47.     Credit-based insurance scores, like credit scores themselves, are

numerical summaries of consumers’ credit histories; credit-based insurance scores


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are typically calculated using a multitude of information, including, but not limited

to, the length and age of credit history and the use of certain types of credit. Federal

Trade Commission, Credit-Based Insurance Scores: Impacts on Consumers of

Automobile       Insurance       (July     2007),      p.     11,      available      at

https://www.ftc.gov/sites/default/files/documents/reports/credit-based-insurance-

scores-impacts-consumers-automobile-insurance-report-congress-federal-

trade/p044804facta_report_credit-based_insurance_scores.pdf,           archived      at

https://perma.cc/B2VQ-452N (last accessed September 3, 2018). As cited in Ins.

Inst. V. Commissioner, 486 Mich. 370, 785 N.W.2d 67 (2010).

      48.    Credit-based insurance scores evolved from traditional credit scores,

and all major automobile insurance companies use credit-based insurance scores in

some capacity; insurers use these scores to assign consumers to risk pools and to

determine the premiums that they pay. Id. at 22.

      49.    A Wallethub study determined that a change in credit scores caused a

consumer’s automobile insurance rates to rise by an average of 67% nationwide, and

an average of 84% in Georgia. 2018’s States Where Credit Scores Affect Car

Insurance the Most – Credit Score & Car Insurance Report, available at




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https://wallethub.com/edu/car-insurance-by-credit-score-report/4343/, archived at

https://perma.cc/CSL8-D47Y (last accessed September 3, 2018).

      50.    Homeowner’s insurance companies also use credit scores to decide

whether to issue policies, and on what terms. A higher credit score is taken to mean

that a consumer is less of a risk, which, in turn, means the consumer is more likely

to be able to obtain insurance, and pay less for it.

See    https://www.consumer.ftc.gov/articles/0152-credit-scores,      archived     at

https://perma.cc/EB3D-54UP (last accessed September 3, 2018).

      51.    The National Association of Insurance Commissioners (“NAIC”) is the

U.S. standard-setting and regulatory support organization created and governed by

the chief insurance regulators from the 50 states, the District of Columbia, and five

U.S. territories. See, http://www.naic.org/index_about.htm (last accessed September

3, 2018).

      52.    The NAIC advises consumers who find errors on their credit reports to

contact the credit reporting company to have the errors corrected, as the errors can

affect the consumer’s credit-based insurance score. National Association of

Insurance Commissioners, Credit-Based Insurance Scores: How an Insurance

Company Can Use Your Credit to Determine Your Premium, available at


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http://www.naic.org/documents/consumer_alert_credit_based_insurance_scores.ht

m, archived at https://perma.cc/S4F2-9VTL (last accessed September 3, 2018).

      53.    There are several different companies that create credit-based insurance

score reports for insurers to use, including the Fair Isaac Corporation. In calculating

credit-based insurance scores, FICO looks at five general areas it believes will best

determine how an individual manage risks. Id.

      54.    The following is a breakdown of what FICO considers in calculating

credit-based insurance scores, and how much the information generally weighs in

that calculation: payment history accounts for 40% of a consumer’s of a consumer’s

FICO credit-based insurance score; debt/amounts owed accounts for 30% of a

consumer’s of a consumer’s FICO credit-based insurance score; age/length of credit

history accounts for 15% of a consumer’s FICO credit-based insurance score; new

credit/recent inquiries accounts for 10% of a consumer’s of a consumer’s FICO

credit-based insurance score; and, mix of accounts/types of credit accounts for 5%

of a consumer’s of a consumer’s FICO credit-based insurance score. Id.

      55.    Incorrectly reporting the tradeline of Plaintiff’s Mortgage—which is

open, active, and has a balance that Plaintiff is making payments on—with incorrect,

outdated payment information and as having a $0 balance, adversely affects


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Plaintiff’s FICO credit-based insurance score, as it excludes any recent positive

payment history associated with the Mortgage, it alters the age/length of credit

history, and it alters the mix of accounts/types.

                 The CDIA Metro 2 Credit Reporting Standards

The CDIA has Imposed Rigorous Industry Standards to Ensure FCRA Compliance

      56.    The reporting of consumer credit information, by credit reporting

agencies (“CRAs”) and data furnishers, is the foundation of credit risk scoring and

impacts the financial lives of consumers in innumerable ways, including the

availability and cost of credit, housing opportunities, leasing prospects, insurance

availability and cost, utility service, and even employment. Between two and three

million consumer reports are issued by credit bureaus each day. See,

http://www.cdiaonline.org/about.cfm (last accessed September 3, 2018).

      57.    The Consumer Data Industry Association (“CDIA”) is an international

trade association, representing over 140 members involved in credit reporting,

mortgage reporting, check verification, tenant and employment screening, collection

services, and fraud verification services, and the CDIA is active in both federal and

state legislative affairs, public relations, education, and the promulgation of industry

standards.


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      58.    Because consumer credit reporting information is such sensitive data

that has far reaching implications for most, if not all, consumers, the CDIA works

together with CRAs to develop, maintain and enhance industry-standard reporting

formats and guidelines.

      59.    To further assist CRAs and data furnishers with performing their due

diligence and reporting accurate, complete, and timely data, in satisfaction of the

FCRA’s legal requirements, the CDIA offers extensive training, education, and

support to CRAs and data furnishers.

      60.    The CDIA’s extensive training and support offerings include FCRA

certification programs for both CRAs and data furnishers, to assist each in

maintaining compliance with FCRA regulations.

      61.    Because standardized methods are of paramount importance to the

accurate, complete and timely reporting of consumer credit data, the CDIA can and

will revoke FCRA certification for failure to adhere to the standards set by the CDIA.

      62.    In cooperation with the major CRAs, CDIA publishes the Metro 2

(“Metro 2”) reporting standards to assist furnishers with their compliance

requirements under the FCRA. CDIA’s reporting products are used in more than

nine billion transactions each year.


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See,     http://www.cdiaonline.org/about/index.cfm?unItemNumber=515            (last

accessed September 3, 2018).

       63.   The Metro 2 Format Task Force is comprised of representatives from

Equifax, Experian, Innovis, and TransUnion, and is supported by the CDIA. Metro

2 Format Task Force’s mission is to provide a standardized method for the reporting

of accurate, complete and timely data, and has developed the Metro 2 standards. Id.

       64.   In order to ensure compliance with the FCRA, and in furtherance of its

mission, the Metro 2 Format Task Force has developed an industry standard (the

“Metro2 standard”) for reporting consumer accounts that “will ensure the integrity

and consistency of the credit information being reported.”

       65.   In the credit reporting industry, Metro 2 is widely known as the well-

established industry standard, uniformly adopted by furnishers and CRAs alike.

       66.   As such, viewers/users of consumer reports both expect and rely on the

information contained in consumer reports to be reported in compliance with the

Metro 2 standards.

       67.   A deviation from the Metro 2 standards results in a reported item being

incomplete and/or misleading to viewers/users of consumer reports.




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      68.    In fact, the existence of an “industry standard” itself—one which is

uniformly adopted and contractually enforced—compounds errors because it gives

more credibility to false reporting.

      69.    Without the existence of Metro 2, a viewer/user of consumer reports

might presume that the furnisher or CRA simply made a mistake with respect to

erroneous, negative credit reporting.

      70.    However, since viewers/users of consumer reports know that Metro 2

has layers of rules and checks to ensure accuracy, they are more likely to “blame”

the consumer for the false, negative credit reporting.

      71.    Thus, a deviation from the Metro 2 standards results in adverse

consequences for the consumer.

      72.    15 U.S.C. § 1681e(b) requires consumer reporting agencies to follow

reasonable procedures to assure maximum possible accuracy of information

concerning the individual about whom a report relates. Similarly, 15 U.S.C. §

1681i(a)(1) requires consumer reporting agencies to conduct reasonable

reinvestigations of a consumer’s dispute of the completeness or accuracy of any item

of information contained in the consumer’s file.




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      73.    The uniform adoption and implementation of the Metro 2 standards is

the primary vehicle by which CRAs and furnishers ensure that they are in

compliance with their respective duties to ensure that they maintain complete and

accurate information under the FCRA.

      74.    The Metro 2 standards provide uniformity in the reporting and

interpretation of credit data, including credit risk scoring.

      75.    The Metro 2 standards are documented in the Credit Reporting

Resource Guide (“CRRG”), an industry-standard publication produced and

distributed by the CDIA.

      76.    As an integral aspect of its duties under the FCRA, Equifax is required

to have in place adequate and reasonable policies and procedures to assure the

maximum possible accuracy of information concerning individuals about whom

Equifax produces reports; the requirement to maintain reasonable procedures

extends to Equifax’s handling and reinvestigation of disputed information.

      77.    At all times relevant hereto, Equifax adopted and implemented the

Metro 2 format as a means of fulfilling its aforementioned duties under the FCRA.




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      78.    At all times relevant hereto, Equifax has required all entities to whom

it grants consumer information reporting rights and access to adhere to the Metro 2

reporting guidelines as a condition of such ability and access.

      79.    As an integral aspect of its duties under the FCRA, Midland Mortgage

is required to have in place adequate and reasonable policies and procedures for

handling and investigation of disputed information.

      80.    At all times relevant hereto, Midland Mortgage adopted and

implemented the Metro 2 format as a means of fulfilling its aforementioned duties

under the FCRA.

      81.    Furthermore, at all times relevant hereto, Midland Mortgage

incorporated, warranted, and or represented to all CRAs to which it reported that it

had adopted and implemented the Metro 2 format for its reporting of consumer data,

and would otherwise comply with Metro 2 and CDIA guidelines in its reporting of

consumer information.

 The National CRAs and the Furnishers of Consumer Information Communicate
       Metro 2 Compliant Notices of Consumer Disputes and Responses,
            Respectively, Through the e-Oscar Reporting Platform

      82.    The FCRA requires CRAs to implement an automated reinvestigation

system through which furnishers formation to the CRA may report the results of a


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reinvestigation that finds incomplete or inaccurate information in a consumer’s file.

15 U.S.C. § 1681i(a)(5)(D).

      83.    To comply with the automated dispute reinvestigation requirements of

the FCRA, Trans Union, Equifax, and Experian (the three major “National CRAs”),

along with Innovis Data Solutions, Inc., developed and implemented a browser-

based software system that allows the CRAs to electronically notify furnishers

quickly and easily of disputed credit reporting information, and for furnishers to

quickly and easily respond to such disputes following the furnisher’s investigation

of the disputed information.

      84.    The system is commonly referred to as e-OSCAR (Online Solution for

Complete and Accurate Reporting) and was designed to be Metro 2 compliant. See

http://www.e-oscar.org/ (last accessed October 30, 2018).

      85.    The e-OSCAR system primarily supports Automated Credit Dispute

Verification (“ACDV”) and Automated Universal Data Form (“AUD”) processing,

as well as other consumer-dispute-related processes. Id.

      86.    The National CRAs, provide notice of a consumer’s dispute to data

furnishers in the ACDV format, and forward the ACDV to the furnisher through e-

OSCAR.


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      87.   If a furnisher’s investigation of a consumer’s dispute determines that

the information in dispute is incomplete or inaccurate, the FCRA requires the

furnisher to correct the information not only with the CRA that sent the ACDV, but

with all other CRAs to whom the furnisher reported that information. 15 U.S.C. §

1681s-2(b)(1)(D).

      88.   The e-OSCAR system facilitates the furnisher’s compliance with 15

U.S.C. § 1681s-2(b)(1)(D) by sending a “Carbon Copy” of an ACDV response “to

each CRA with whom the [furnisher] has a reporting relationship” in addition to the

response to the initiating CRA. See https://www.e-oscar.org/implementation/about-

us (last accessed February 19, 2019).

      89.   Additionally, a furnisher can manually correct a tradeline with a CRA

other than the one that initiated a dispute by sending an AUD within e-OSCAR.

      90.   Equifax requires data furnishers that report to Equifax to register with

and use e-OSCAR, and states that e-OSCAR is “in compliance with FCRA and

Metro 2 standards.” See, https://www.transunion.com/data-reporting/support-teams

(last accessed October 30, 2018).

   Viewers of Credit Reports Presume Compliance with the Metro 2 Standards;
      Departures from the Standards are, Therefore, Inherently Misleading



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      91.    The CRRG and the Metro 2 guidelines have been uniformly adopted

across the credit reporting industry.

      92.    All entities which contribute to consumer reports have agreed to

comply with the Metro 2 guidelines, which are “accepted by all consumer reporting

agencies;” likewise, consumer reporting agencies require their furnishers to comply

with the Metro2 guidelines as a condition of their agreements. CRRG at 2-1.

      93.    Given the universal adoption of Metro 2, a creditor or other entity

performing risk scoring or other functions using the data provided in a consumer

report will view the report in the light of the guidelines, presuming that the

information reported is in compliance with industry standards.

      94.    For example, The FICO scoring system utilizes data reported by CRAs

and furnishers which are, ostensibly, in compliance with Metro 2 standards.

      95.    As Metro 2 format has been adopted as the credit reporting industry

standard, the failure on the part of a CRA to adhere to the accepted Metro 2 standards

increases the probability of a reported item being false or materially misleading to

viewers of consumer reports, as those users reasonably presume that the information

in the consumer reports is being reported in compliance with Metro 2 standards, and

interpret that information accordingly.


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      96.   Thus, failure to adhere to Metro 2 in consumer credit reporting

adversely affects consumers, as it causes inconsistent, misleading, and/or incorrect

interpretation of information regarding consumers.

      97.   Equifax has actual knowledge that entities reviewing consumer credit

reports presume that Equifax has complied with the Metro 2 standards.

      98.   Midland Mortgage has actual knowledge that entities reviewing

consumer credit reports presume that Midland Mortgage has complied with the

Metro 2 standards.

      99.   Because users of consumer credit reports presume the information in

those reports complies with the Metro 2 standards, the failure on the part of a CRA

and/or a furnisher to adhere to the accepted Metro 2 standards increases the

probability of a reported item being false or materially misleading to users of

consumer reports, and thus adversely affecting the consumer.

      100. The failure on the part of a CRA and/or a furnisher to adhere to the

accepted Metro 2 standards can itself support a finding of willful violation as

described by 15 U.S.C. § 1681n when that failure results in a report that is false,

incomplete, and misleading.




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      101. Further, the failure to adhere to the Metro 2 format, and/or the failure

to follow the guidance of regulatory and industry sources, such as the CDIA, is

evidence of willfulness of an FCRA violation under 15 U.S.C. § 1681n(a). See,

Gillespie v. Equifax Info. Servs., LLC, No. 05C138, 2008 WL 4316950, at *8 (N.D.

Ill. Sept. 15, 2008).

   The Metro 2 Guidelines Mandate Regular Monthly Reporting of All Accounts

      102. As part of that industry standard, the Metro 2 Format Task Force has

declared, “All accounts must be reported on a monthly basis.” [Emphasis added]

CRRG at 2-2.

      103. Because consumer credit information changes monthly, failure to

update that information on a monthly basis, yet still publishing reports containing

the previously reported information without updates, means that the information

being reported is almost certainly incomplete, inaccurate, and misleading.

              The Significance of the Consumer Information Indicator

      104. Of particular importance in reporting under the Metro2 standards is the

Consumer Information Indicator (“CII”), a single-character code which indicates an

account’s status in relation to a consumer’s bankruptcy.




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      105. Furnishers and CRAs are required to update the CII code when a

petition for bankruptcy is filed, and again when the bankruptcy is discharged,

dismissed, or withdrawn.

      106. The reporting of a proper CII code for a consumer’s account ensures

that the tradeline for that account accurately discloses that account’s relationship to

the bankruptcy case, and can suppress other statements about the account (i.e., “in

collections”, “charged off”) which are inconsistent with its status with respect to the

bankruptcy.

      107. While furnishers sometimes report derogatory information about an

account during and after a bankruptcy, the reporting of an accurate CII code ensures

that if such derogatory information is reported, it is either withheld from viewers of

the report, or placed in its proper context relative to the consumer’s bankruptcy.

      108. This is especially important, as not all accounts are included in and/or

dischargeable by consumer bankruptcy.

      109. The failure to report an accurate CII code for an account which was

discharged in bankruptcy, or is included in an active bankruptcy, can lead to a

consumer’s report containing derogatory information which would otherwise not be




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visible to viewers of the report, and render other portions of the report misleading,

since a viewer would not be aware that the account is included in bankruptcy.

      110. Similarly, where an account which is not discharged or dischargeable

in bankruptcy is reported with an incorrect CII indicator, the consumer’s report can

falsely indicate that the account is subject to bankruptcy or discharge, and suppress

the consumer’s positive history of making payments toward the account.

      111. These false impressions become even greater in the light of the

universally adopted Metro 2 standards, which require that an account within, or

discharged by, a consumer bankruptcy be identified as such.

      112. Since the broadly adopted industry standard requires disclosure of a

pending bankruptcy, the absence of such a disclosure inherently misleads a viewer

into believing that the account is not included in bankruptcy.

                  Reporting of Accounts with an Active, Confirmed
                      Chapter 13 Bankruptcy, under Metro 2

      113. Upon confirmation of a Chapter 13 plan, Metro 2 requires furnishers

and CRAs to report an account included in the debtor’s bankruptcy as follows:

             a.     A Consumer Information Indicator (“CII”) of “D” (or blank
                    to maintain a “D” which was previously reported), indicating that
                    the account is subject to a petition for Chapter 13 bankruptcy;
             b.     An Account Status Code reflecting the status at time of the
                    petition;

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            c.  A Payment History of “D” (indicating “no history available”)
                for each month since the filing of the bankruptcy, plus actual
                history for prior months;
            d.  An Amount Past Due of zero;
            e.  A Current Balance reflecting the current balance as provided
                for under the terms of the Chapter 13 plan, rather than the original
                contract;
            f.  Terms Duration & Terms Frequency which incorporate any
                changes the contract terms provided for under the Chapter 13
                plan;
            g.  The Scheduled Monthly Payment Amount reflecting the
                scheduled payment amount under the Chapter 13 plan, rather
                than under the original contract; and
            h.  A Date of Account Information of the current month’s date
                (increasing with each month’s reporting).
            CRRG, FAQ 28(a)-(b), at 6-21 to 6-24.


                     Plaintiff’s Equifax Consumer Report

      114. On or about January 31, 2022, Plaintiff obtained a copy of her consumer

report as published by Equifax.

      115. That report contained erroneous information as provided by Midland

Mortgage, and as published and reported by Equifax.

      116. The relevant portion of the Midland Mortgage tradeline appeared in the

January 31, 2022, Equifax report as follows:




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                         .

       (Remaining portion of tradeline omitted.)

       117. Because the Mortgage has not been discharged in Plaintiff’s

Bankruptcy Case (as the Bankruptcy Case has not been discharged at all) and the

Mortgage is not subject to discharge, and Plaintiff continues to make payments to

Midland Mortgage on the Mortgage, the information described above was both false

and misleading in a number of key respects (the “Inaccurate Reporting”), including,

inter alia:

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            a.     The Mortgage’s monthly payment is reported as $0, rather than

                   the actual current balance of the account (which, in conjunction

                   with the notation of bankruptcy, creates the false impression that

                   the account was discharged in bankruptcy) ; and

            b.     The tradeline was not reported in compliance with CDIA / Metro

                   2 standards.

      118. The Inaccurate Reporting was in derogation of accepted industry

standards for reporting the Mortgage as set forth by the CDIA and Metro 2 and as

adopted by Defendant, including, inter alia:

            a.     The Balance is not reported, rather than the current balance as

                   provided for under the Chapter 13 plan, as required by Metro 2;

                   and

            b.     Scheduled Monthly Payment is reported as $0, rather than the

                   monthly payment provided for under the Plan, as required by

                   Metro 2.

      119. The Inaccurate Reporting was in derogation of accepted industry

standards for reporting the Mortgage as set forth by the CDIA and Metro 2 and as

adopted by Defendant, including, inter alia:


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             a.    The continued notation of bankruptcy on the account indicates

                   that the CII has not been updated to “Q”, as required by Metro 2;

                   and

             b.    The Balance Owed is reported as $0, rather than the actual

                   current, correct balance as provided for under the Chapter 13

                   plan, as required by Metro 2;

             c.    The Monthly Payment is reported as $0, rather than the current

                   contractual monthly payment amount, as required by Metro 2;

      120. In a letter dated March 23, 2022, Plaintiff disputed the inaccurate and

misleading information directly to Equifax and advised Equifax that the mortgage

balance is not $0, and the monthly payment is not $0. The relevant portion of

Plaintiff’s dispute is reproduced below:




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      121. The dispute letter provided Defendant with sufficient information to

identify and correct the inaccurate reporting.

      122. In support of Plaintiff’s dispute, and to assist reinvestigation (CRA)

Plaintiff included with her dispute the following documents: a copy of Plaintiff’s

Chapter 13 Plan showing the Mortgage as long-term debt and thus exempt from

discharge under 11 U.S.C. § 1328(a)(1); a copy of the Order ConfirmingChapter 13

Plan; and a copy of the Proof of Claim filed by Midland Mortgage.

      123. Pursuant to 15 U.S.C. § 1681i, Equifax had a duty to notify Midland

Mortgage of Plaintiff’s dispute within five business days of receiving the dispute, to

forward the supporting documents submitted with Plaintiff’s dispute for Midland

Mortgage’s review, to conduct a reasonable reinvestigation of the disputed

information, and to correct the tradeline or delete it from Plaintiff’s consumer file.

      124. Upon information and belief, Equifax timely notified Midland

Mortgage of Plaintiff’s dispute, via e-OSCAR or otherwise, and provided the

supporting documents submitted with Plaintiff’s dispute.

      125. Alternatively, Equifax failed to notify Midland Mortgage of Plaintiff’s

dispute, and/or failed to provide the supporting documents submitted with Plaintiff’s

dispute.


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      126. In a document dated May 15, 2022, Equifax advised Plaintiff that it had

researched the dispute, and provided a “revised report” that reflected its findings.

      127. Equifax advised Plaintiff it either made changes to Plaintiff’s credit

report based upon information provided by Plaintiff, or it contacted the company

reporting the information to Equifax requesting that it verify the accuracy of the

information provided by Plaintiff.

      128. Equifax also advised Plaintiff that it provided the furnisher with “any

relevant information and supporting documentation you provided us with the dispute

to consider as part of the investigation”.

      129. A reproduction of the relevant portion of the report describing the

procedures to Plaintiff appears below:




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       130. Equifax provided a copy of the tradeline as reported “post-

investigation” which reproduced the errors identified by Plaintiff in her original

dispute letter.

       131. Specifically, the Midland Mortgage tradeline appeared in the revised

May 1, 2022, Equifax report as follows:




       132. Equifax does not provide the Midland Mortgage tradeline or explain

the outcome of its decision.

       133. In a document dated August 22, 2022, Plaintiff obtained a copy of her

Equifax consumer credit report.




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      134. Specifically, the Midland Mortgage tradeline appeared in the August

22, 2022, Equifax report as follows:




      135. Defendant’s post-investigation reporting is false and misleading.




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      136. Upon information and belief, Equifax failed to notify Midland

Mortgage of Plaintiff’s dispute and to provide the supporting documents supplied by

Plaintiff as required by 15 U.S.C. § 1681i despite its written assurance to Plaintiff to

the contrary.

      137. Upon information and belief, Defendant did not perform any

reinvestigation of Plaintiff’s dispute, under either “standard” or “expedited”

procedures, as described by § 1681i(a)(8), but instead simply repeated the inaccurate

tradeline information.

      138. Plaintiff’s dispute was neither frivolous nor irrelevant.

      139. Defendant did not inform Plaintiff that it had determined the dispute

was frivolous or irrelevant.

      140. Defendant never informed Plaintiff that it required additional

information to investigate Plaintiff’s dispute.

      141. Defendant’s post-investigation reporting is, independently and jointly,

false and misleading.

      142. Defendant’s post-investigation reporting is in derogation of the Metro

2 reporting standards, and that departure and failure to adhere to the adopted

guidelines renders the reporting both false and materially misleading, as users of


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consumer reports assume Defendant’s compliance with Metro 2 standards in

reporting consumer information.

      143. There is no indication in the tradeline of the “verified” report that

Plaintiff has disputed the information reported and published by Defendant, and the

failure to note Plaintiff’s legitimate dispute of the Midland Mortgage tradeline

renders the reporting materially misleading.

      144. Plaintiff is informed and believes that the revised tradeline reflects any

information provided by Midland Mortgage to Equifax in response to Plaintiff’s

dispute.

                               INJURIES-IN-FACT

      145. Defendant’s actions and omissions have caused Plaintiff to lose time

attempting to correct the false information on Plaintiff’s consumer report.

      146. The time spent by a person attempting to correct a false credit report

constitutes a concrete injury for purposes of an FCRA claim. Pinson v. JPMorgan

Chase Bank, Nat’l Ass’n, No. 16-17107, 2019 U.S. App. LEXIS 33662, at *5 (11th

Cir. Nov. 12, 2019), citing Pedro v. Equifax, Inc., 868 F.3d 1275, 1280 (11th Cir.

2017).




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      147. Defendant’s actions and omissions have resulted in the illegitimate

suppression of Plaintiff’s FICO credit score and other credit rating model scores.

      148. The adverse effect on Plaintiff’s credit score places Plaintiff at the

material risk of being denied credit or receiving less favorable credit terms than she

otherwise would.

      149. Further, the Courts have regularly held that allegations of lower credit

scores, taken as true, are sufficient to allege a concrete injury-in-fact for the purposes

of standing under Article III. Pedro v. Equifax, Inc., 868 F.3d 1275 (11th Cir. 2017)

(“[H]er credit score dropped 100 points as a result of the challenged conduct.

Because Pedro alleged that she suffered an injury in fact, she has standing to pursue

her complaint.”); Diedrich v. Ocwen Loan Servicing, LLC, 839 F.3d 583 (7th Cir.

2016) (standing where Plaintiffs alleged that they “have suffered damage to their

credit and been forced to pay Ocwen greater payments and a higher interest rate”);

Santangelo v. Comcast Corp., 162 F. Supp. 3d 691 (N.D. Ill. 2016) (“a depleted

credit score is sufficient to constitute an injury-in-fact for the purposes of

establishing Article III standing”); Binns v. Ocwen Loan Servicing, LLC, No. 14-

01764, 2015 U.S. Dist. LEXIS 132743, 2015 WL 5785693, at *9 (S.D. Ind. Sept.

30, 2015) (“injuries to plaintiffs’ credit scores and reputations were considered


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intangible harms”); Rothman v. U.S. Bank Nat’l Ass’n, No. 13-03381, 2014 U.S.

Dist. LEXIS 141100, 2014 WL 4966907, at *5 (N.D. Cal. Oct. 3, 2014) (“Injury to

a credit score is sufficient to constitute ‘actual damages’”); Green v. RentGrow, Inc.,

No. 2:16cv421, 2016 U.S. Dist. LEXIS 166229 (“A decrease in credit score may

still establish an injury in fact sufficient to confer standing”); Adams v. Fifth Third

Bank, No. 3:16-CV-00218-TBR, 2017 U.S. Dist. LEXIS 18932 (W.D. Ky. Feb. 9,

2017) (“Plaintiffs’ allegations of lower credit scores … are sufficient to allege a

concrete injury-in-fact for the purposes of standing under Article III.”); and,

Coulbertson v. Experian Info. Sols., Inc., No. 16-cv-05672-RS, 2017 U.S. Dist.

LEXIS 69484 (N.D. Cal. Mar. 24, 2017) (“At a minimum, Coulbertson has alleged

a sufficient injury-in-fact through her claim that her credit score suffered as a result

of the credit report she disputes”).

      150. Defendant’s actions and omissions have resulted in the illegitimate

suppression of Plaintiff’s credit-based insurance scores.

      151. The adverse effect on Plaintiff’s credit-based insurance scores places

Plaintiff at the material risk of being denied insurance or receiving less favorable

insurance rates and terms than she otherwise would.




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      152. Defendant’s actions and omissions have caused Plaintiff’s credit report

to falsely indicate that Plaintiff’s Mortgage has a balance of $0, and a monthly

payment of $0, suggesting that the account was discharged in Plaintiff’s Bankruptcy

Case, thereby denying Plaintiff the positive effect of the reporting of their Mortgage

payments over the course of the Chapter 13.

      153. This false impression creates a material risk that Plaintiff would be

denied credit, receive less favorable credit treatment than Plaintiff otherwise would,

or receive other unfavorable treatment than Plaintiff otherwise would, from any

viewer of Plaintiff’s Equifax credit report engaged in judgment-based lending.

      154. Plaintiff’s pending Bankruptcy Case does not preclude Plaintiff from

obtaining credit. On the contrary, it is not uncommon for consumers in an active

Chapter 13 Bankruptcy Case to access the credit markets for the replacement or

acquisition of vehicles and the refinancing of debt.1

      155. In point of fact, the FHA has a program for approving borrowers who

are still making payments in a pending/active Chapter 13 Bankruptcy. U.S.



1
 The Federal Rules of Bankruptcy Procedure specifically provide for the method by
which consumers in an active bankruptcy obtain approval for obtaining credit. FRBP
4001(c).


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Department of Housing and Urban Development, HUD 4155.1, Mortgage Credit

Analysis for Mortgage Insurance (March 24, 2011) p. 4-C-13, available at

https://www.hud.gov/sites/documents/41551HSGH.PDF.                    See           also,

https://www.fha.com/fha_requirements_credit.

      156. Consumers in bankruptcy often have high-interest mortgages due to the

financial circumstances that led to bankruptcy in the first place; once the bankruptcy

process has provided some stability, they may be eligible for more favorable terms

if their credit otherwise supports it.

      157. Thus, complete and accurate reporting by CRAs and furnishers is of

paramount importance.

      158. The existence of consumer reports which inaccurately report Plaintiff’s

Mortgage, and/or falsely suggest that Plaintiff’s Mortgage has been discharged or is

subject to discharge, make it inherently more difficult and more expensive for

Plaintiff to refinance the Mortgage.

      159. For example, for Plaintiff to obtain an FHA loan, the FHA’s general

credit policy requires lenders to obtain Plaintiff’s full credit report–not just

Plaintiff’s credit scores, and analyze Plaintiff’s credit history, liabilities, and debts

to determine creditworthiness. U.S. Dep’t of Hous. and Urban Dev., Handbook


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4000.1, FHA Single Family Housing Policy Handbook, 250 (December 30, 2016),

https://www.hud.gov/sites/documents/40001HSGH.PDF         (January   16,   2018)

archived at https://perma.cc/UE3H-N3BS.

      160. To obtain an FHA refinance of a potential mortgage, the lender must be

able to verify Plaintiff’s payments for a potential mortgage for the preceding 12

months. Id. at 409.

      161. In the event this information cannot be obtained via the consumer’s

credit report, FHA guidelines mandate that the consumer meet this burden through

other, more difficult and time-consuming means. Id. at 410.

      162. Plaintiff’s correct payment history would be included in Plaintiff’s

Equifax credit report if Defendant had conducted appropriate investigation of

Plaintiff’s dispute.

      163. However, because the Mortgage is falsely reported in Plaintiff’s

Equifax credit report as having a $0 balance, and a $0 monthly payment. Plaintiff

will be forced to pursue alternative, more time-consuming, and more expensive

means of demonstrating her payment history to a potential lender.

      164. Because Defendant failed to comply with their duties under the FCRA

as detailed herein, Plaintiff will need to obtain and provide verification of the


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Mortgage, bank statements, and/or other documents to demonstrate his payment

history for the previous 12 months.

      165. This requires Plaintiff to expend more time, effort, and money due to

Defendant’s failures to abide by its obligations under the FCRA.

                                      DAMAGES

                                 Actual Damages

      166. As a result of Defendant’s actions and omissions, Plaintiff has suffered

actual damages.

      167. These damages include out-of-pocket expenses incurred as a result of

Defendant’s wrongful representations regarding the Mortgage, and Defendant’s

failures to abide by their obligations under the FCRA.

      168. Plaintiff has suffered a decrease in Plaintiff’s credit score as a result of

Defendant’s wrongful representations regarding the Mortgage, and Defendant’s

failures to abide by their obligations under the FCRA.

      169. Plaintiff has also experienced aggravation, frustration, and stress due to

the fact that Defendant is thwarting Plaintiff from receiving the Fresh Start

guaranteed by bankruptcy process and discharge.

                        Statutory and Punitive Damages


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      170. At the time Defendant reported the information at issue in this matter,

Defendant had actual notice that the information it was reporting regarding Plaintiff

and the Mortgage was false, deceptive, and misleading.

      171. For example, Plaintiff included corroborating documents with her

dispute, including the Chapter 13 Plan, the Order Confirming Plan Order, Midland

Mortgage’s Proof of Claim, which was more than sufficient to establish that the

disputed information was being reported inaccurately.

      172. Defendant would have further reason to doubt the accuracy of reporting

Plaintiff’s Mortgage in such a way as to indicate the Mortgage was discharged in

bankruptcy (as described supra), because the Bankruptcy Case itself has not yet been

discharged (a fact which is itself apparent from the face of Plaintiff’s credit reports).

Even if the Mortgage account was eligible for discharge (which it is not), it clearly

could not have been discharged while the bankruptcy is still ongoing.

      173. Finally, Plaintiff is informed and believe(s) that Midland Mortgage has

previously provided Equifax with information containing these same (or

substantially similar) errors on a multitude of occasions, thus placing Equifax on

notice of Midland Mortgage’s unreliability, and deficiencies in Midland Mortgage’s

systems and procedures, which have repeatedly caused these errors to propagate in


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data provided by Midland Mortgage and elude correction upon dispute by

consumers.

      174. Defendant had more than enough information to correct its false,

deceptive, and misleading reporting.

      175. Despite that, Defendant continued to report the false, deceptive, and

misleading information regarding Plaintiff and the Mortgage.

      176. Defendant failed to correct its false, deceptive, and misleading

reporting, and in fact continued to report false, deceptive, and misleading

information regarding Plaintiff, as described herein.

      177. Accordingly, Defendant’s conduct was willful.

      178. As a result of Defendant’s willful actions and omissions, Plaintiff is

eligible to recover actual damages or statutory damages of up to $1,000, potential

punitive damages, costs of this action, and reasonable attorney’s fees pursuant to 15

U.S.C. §§ 1681n and/or 1681o.

                              CAUSES OF ACTION

         VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                   15 U.S.C. §§ 1681e(b) and 1681i
                 Equifax Information Services, LLC




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      179. Plaintiff incorporates by reference the preceding paragraphs as though

fully stated herein.

      180. Pursuant to 15 U.S.C. § 1681e(b), Equifax is responsible for following

reasonable procedures to assure maximum possible accuracy of information

whenever it prepares consumer reports about Plaintiff.

      181. Pursuant to 15 U.S.C. § 1681i(a)(1)(A), Equifax had an affirmative

duty to independently investigate the dispute submitted by Plaintiff.

      182. Pursuant to 15 U.S.C. § 1681i(a)(2), Equifax was required to

communicate the specifics of Plaintiff’s dispute to Midland Mortgage, including the

forwarding of any documents provided by Plaintiff in support of that dispute.

      183. A consumer reporting agency’s reasonable reinvestigation must be a

good faith effort to ascertain the truth; a reasonable reinvestigation must answer the

substance of the consumer’s dispute and may not merely be a pro forma record

review that simply begs the question.

      184. A reasonable reinvestigation clearly requires some degree of careful

inquiry, and more than just a superficial inquiry.

      185. The reasonableness of a reinvestigation under the FCRA is generally a

question of fact for the jury.


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      186. In order to conduct a reasonable reinvestigation, and pursuant to 15

U.S.C. § 1681i(a)(4), Equifax was required to review and consider all relevant

information submitted by Plaintiff.

      187. Plaintiff’s dispute was clear and unambiguous as to the inaccuracies of

Equifax’s reporting of the Mortgage.

      188. Plaintiff provided all the relevant information necessary for Equifax to

conduct a reasonable reinvestigation and correct the inaccuracies in its reporting.

      189. Equifax breached its duties as described herein.

      190. If Equifax had conducted a reasonable reinvestigation of Plaintiff’s

dispute, Equifax would have reviewed and considered all of the information Plaintiff

submitted in her dispute and would have easily detected that what was being reported

regarding the Mortgage was factually incorrect, inaccurate, and misleading.

      191. If Equifax had conducted a reasonable reinvestigation of Plaintiff’s

dispute, the Midland Mortgage tradeline on Plaintiff’s Equifax consumer report

would have been appropriately corrected.

      192. Due to Equifax’s failures to follow reasonable procedures to assure

maximum possible accuracy of information, and failures to conduct a reasonable

reinvestigation of Plaintiff’s dispute, the false and misleading information in


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Plaintiff’s credit file and on Plaintiff’s Equifax report was not appropriately

modified.

      193. Equifax had all the information necessary to correct its reporting.

Despite that, Equifax failed to correct the false, disputed information, in the face of

clear evidence that its reporting was false and misleading. That failure indicates that

Equifax’s reinvestigation procedures were not reasonable.

      194. The fact that Equifax had all the information necessary to correct its

reporting, yet failed to do so in an appropriate manner, further indicates that Equifax

recklessly disregarded Plaintiff’s dispute and the requirements of the FCRA,

amounting to a willful violation of the statute.

      195. Upon information and belief, Equifax has prepared consumer reports

containing the incomplete and inaccurate information at issue and has published the

incomplete and inaccurate information to third parties.

      196. Equifax willfully, or in the alternative negligently, violated 15 U.S.C.

§ 1681e(b) by failing to follow reasonable procedures to assure the maximum

possible accuracy of information concerning Plaintiff in her consumer reports, in

reckless disregard of the statutory requirements, Plaintiff’s dispute, and the publicly

recorded Bankruptcy Case filings.


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      197. Equifax willfully, or in the alternative negligently, violated 15 U.S.C.

§ 1681i in multiple ways, including without limitation, by failing to properly notify

Midland Mortgage of Plaintiff’s dispute, by failing to provide Midland Mortgage

with all the supporting information/documents included with Plaintiff’s dispute, by

failing to conduct a reasonable reinvestigation of Plaintiff’s dispute, and by failing

thereafter to appropriately modify information in Plaintiff’s file and on her consumer

reports, in reckless disregard of the statutory requirements, Plaintiff’s dispute, and

the publicly recorded Bankruptcy Case filings.

      198. As a result of Equifax’s violations of 15 U.S.C. §§ 1681e(b) and 1681i,

Plaintiff has suffered actual damages as described herein. Plaintiff is, therefore,

entitled to recover actual damages from Equifax pursuant to 15 U.S.C. §§ 1681n and

1681o.

      199. Equifax’s actions and omissions were willful, rendering Equifax liable

to Plaintiff for punitive damages and/or statutory damages pursuant to 15 U.S.C. §

1681n.

      200. Plaintiff is entitled to recover costs and attorneys’ fees from Equifax

pursuant to 15 U.S.C. §§ 1681n and 1681o.

                                 TRIAL BY JURY


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      201. Plaintiff is entitled to and hereby requests a trial by jury.

      WHEREFORE, Plaintiff prays that judgment be entered in her favor and

against Defendant, jointly, for:

             a)     Plaintiff’s actual damages;

             b)     Statutory damages of $1,000 per violation of the FCRA pursuant

                    to 15 U.S.C. § 1681n;

             c)     Punitive damages pursuant to 15 U.S.C. § 1681n;

             d)     Reasonable attorney’s fees and costs pursuant to 15 U.S.C. §§

                    1681n and/or 1681o; and

             e)     Such other and further relief as may be just and proper.




      Respectfully submitted this 18th day of October, 2022.




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